MOTION GRANTED.




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


        CATHOLIC MEDICAL ASSOCIATION,

                            Plaintiff,

               v.                                     No. 3:25-cv-00048

        UNITED STATES DEPARTMENT OF                   Judge Campbell
        HEALTH AND HUMAN SERVICES, et                 Magistrate Judge Frensley
        al.,

                            Defendants.


          JOINT MOTION TO VACATE INITIAL SCHEDULING CONFERENCE
        AND DEADLINE TO SUBMIT PROPOSED CASE MANAGEMENT ORDER,
                           AND TO SET DEADLINES

             The parties respectfully move: to vacate the initial scheduling conference and

       deadline to submit a proposed case management order; to extend the answer

       deadline; and to set a deadline for the parties to submit a proposed schedule for

       further proceedings, and in support state:

             1.     Plaintiff challenges a July 2022 Memorandum from the Centers for

       Medicare & Medicaid Services with the subject “Reinforcement of EMTALA

       Obligations specific to Patients who are Pregnant or are Experiencing Pregnancy

       Loss” and an accompanying Letter from the Secretary of Health and Human

       Services. Compl. ¶ 1.




         Case 3:25-cv-00048    Document 22      Filed 03/24/25   Page 1 of 4 PageID #: 107
       2.     The Complaint was served on the U.S. Attorney’s Office on January 29,

and Defendants’ deadline to respond is currently March 31. See Fed. R. Civ. P.

12(a)(2), 6(a)(1)(C).

       3.     Pursuant to Local Rule 16.01, the Court has set an initial scheduling

conference for March 27 and directed the parties to submit a proposed case

management order under Federal Rule of Civil Procedure 26(f) and Local Rule 16.01

by March 24. ECF No. 7.

       4.     Given the nature of this case—i.e., a challenge to agency action that

appears to present purely legal issues—the parties understand it to be exempt from

the ordinary requirements to hold an initial scheduling conference and submit a

proposed discovery plan. See Fed. R. Civ. P. 26(a)(1)(B)(i) (exempting “an action for

review on an administrative record” from initial disclosure obligations); Fed. R. Civ.

P. 26(f)(1)–(3) (exempting such actions from the requirement to confer and develop a

proposed discovery plan); Local Rule 16.01(c)(3) (listing as “Exempt from Mandatory

Initial Case Management Conferences” “[a]ll actions for judicial review of

administrative decisions of government agencies or instrumentalities where the

review is conducted on the basis of the administrative record”). In any event, the

parties believe that such procedures would be unnecessary in this case, as no

discovery is anticipated.

       5.     Cases such as this are instead often resolved by dispositive motion.

Here, however, Defendants’ March 31 answer deadline has not yet run, and new

leadership at the Department of Health and Human Services respectfully seeks




  Case 3:25-cv-00048        Document 22   Filed 03/24/25   Page 2 of 4 PageID #: 108
additional time to consider how best to respond to the Complaint. Accordingly, the

parties respectfully propose that the answer deadline be extended by 30 days, from

March 31 to April 30. They further propose that the parties continue to confer and,

by May 14, submit a proposed schedule for any further proceedings that may be

necessary (provided that, in the event Defendants were to respond to the Complaint

by moving to dismiss, Plaintiff’s response would not be due before May 30).

      WHEREFORE, the parties respectfully request that the Court vacate the

initial scheduling conference and deadline to submit a proposed case management

plan, extend the answer deadline to April 30, and set a deadline of May 14 for the

parties to submit a proposed schedule for further proceedings.


       Dated: March 21, 2025

       Respectfully submitted,

/s/ Eric Beckenhauer*                 x       /s/ J. Dylan Harper                     x
signed with permission from                   J. Dylan Harper
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 Case 3:25-cv-00048      Document 22    Filed 03/24/25   Page 3 of 4 PageID #: 109
                         CERTIFICATE OF SERVICE

     I hereby certify that the foregoing is being served on all counsel through the

Court’s CM/ECF system on March 21, 2025.

                                            /s/ J. Dylan Harper                       x
                                            J. Dylan Harper




 Case 3:25-cv-00048    Document 22     Filed 03/24/25   Page 4 of 4 PageID #: 110
